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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.                                            Case No. 24-cr-209-BAH

DUSTIN RAY WILLIAMS

     Defendant.

                    GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Dustin Ray Williams to 30 months of incarceration, 3 years of supervised release,

restitution in the amount of $2,000, and a $295 mandatory assessment fee. Based on the

government’s calculation, Williams’ guidelines range is 27 to 33 months. The government’s

recommendation of 30 months, at the midpoint of that guidelines range, is warranted to reflect

the seriousness of Williams’ conduct on January 6 while acknowledging his early acceptance of

responsibility.

   I.      INTRODUCTION

        The defendant, Dustin Williams, violently participated in the January 6, 2021 riot at the

United States Capitol that forced an interruption of the certification of the 2020 Electoral College

vote count, threatened the peaceful transfer of power after the 2020 Presidential election, injured




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more than one hundred police officers, and resulted in more than 2.9 million dollars in losses.1

        Williams, the owner of a custom concrete fixture business, joined the riotous mob that

breached the Capitol grounds, waded to the front of the crowd on the southern end of the West

Terrace, and immediately assaulted the officers defending the Capitol by forcibly shoving and

pushing the officers over a period of approximately 25-30 seconds. Minutes later, Williams stood

near the police line, surrounded by thousands of rioters, and threateningly shouted, “There’s a lot

more coming, motherfuckers!” Williams made a number of selfie videos while on the U.S.

Capitol grounds, explaining in some that he had been “pepper sprayed” and “tear gassed.”

Instead of leaving, however, Williams remained within the restricted area for approximately two

additional hours. When the police line on the West Plaza retreated up to the inaugural platform

and through a tunnel that led into the U.S. Capitol building, Williams followed and stood just

outside the tunnel entrance.

        The government recommends that the Court sentence Williams to 30 months of

incarceration for his conviction of violating

       18 U.S.C. § 231(a)(3) [Count One – Civil Disorder],

       18 U.S.C. § 111(a) [Count Two – Assaulting Federal Officers],



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  As of July 7, 2023, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,923,080.05. That amount reflects, among other things, damage to the United
States Capitol building and grounds and certain costs borne by the United States Capitol Police.
The Metropolitan Police Department (“MPD”) also suffered losses as a result of January 6, 2021,
and is also a victim. MPD recently submitted a total of approximately $629,056 in restitution
amounts, but the government has not yet included this number in our overall restitution summary
($2.9 million) as reflected in this memorandum. However, in consultation with individual MPD
victim officers, the government has sought restitution based on a case-by-case evaluation.

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        18 U.S.C. § 1752(a)(1) [Count Three – Entering/Remaining on Restricted Grounds],

        18 U.S.C. § 1752(a)(2) [Count Four – Disorderly/Disruptive Conduct on Restricted
         Grounds],

        18 U.S.C. § 1752(a)(4) [Count Five – Physical Violence on Restricted Grounds],

        40 U.S.C. § 5104(e)(2)(D) [Count Six – Disorderly Conduct on Capitol Grounds], and

        40 U.S.C. § 5104(e)(2)(F) [Count Seven – Physical Violence on Capitol Grounds].

         A 30-month sentence reflects the gravity of William’s conduct, but also acknowledges

his early admission of guilt.

   II.        FACTUAL BACKGROUND

         A.     The January 6, 2021 Attack on the Capitol

         The government refers the court to the stipulated Statement of Offense filed in this case

as part of the Joint Status Report (ECF 34 at 6-10) as well as the Statement of Facts filed in

support of the complaint application (ECF 1-1 at 1-2) for a short summary of the January 6, 2021

attack on the United States Capitol by hundreds of rioters, in an effort to disrupt the peaceful

transfer of power after the November 3, 2020 presidential election.

         B.     Williams’s Role in the January 6, 2021 Attack on the Capitol

                   Approach to the Capitol and Entry onto Restricted Grounds

         Dustin Williams, the owner of a custom concrete fixture business, drove from his home

in Texas and participated in the January 6 attack on the U.S. Capitol. Williams entered the

restricted grounds and violently assaulted federal officers defending the Capitol, interfering with

their sworn duty to protect members of Congress and their staff. His crimes were captured in a

series of videos provided to the FBI by concerned citizens, open-source videos, and surveillance
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footage from outside of the U.S. Capitol.

       The day before the assault at the Capitol, Williams drove to Washington, D.C. from

Brady, Texas. On January 6, Williams attended then-President Trump’s rally at the Ellipse on

January 6. After leaving the rally, he walked to the U.S. Capitol grounds and entered the

restricted area by no later than 1:03 p.m.—just minutes after other rioters first breached the

restricted perimeter surrounding the Capitol building. Once there, Williams walked behind the

crowd of rioters located along the West Plaza and past the media tower towards the south side of

the plaza.

                             Williams’ Assault on Federal Officers

       By that time, United States Capitol Police (USCP) and Metropolitan Police Department

(MPD) officers (wearing jackets identifying themselves as law enforcement officials and some of

whom were carrying riot helmets and riot shields) stood in a line to defend the U.S. Capitol

building, members of Congress and their staffs, and the U.S. Secret Service detail protecting

former Vice President Pence. The line of police officers, standing shoulder to shoulder on an

elevated platform, faced east towards the growing riotous mob that had flooded the West Plaza.

       Rioters forcibly and violently clashed with police officers there, especially towards the

southern end of the police line. Williams, wearing a hat and a distinctive orange t-shirt, waded

through the growing mob in order to reach the front and to confront the police officers defending

the Capitol. Standing directly in front of those USCP officers, Williams began to violently shove

and push them for a period of approximately 25-30 seconds. During that time, police officers

attempted to defend themselves from Williams and other rioters, but Williams continued to


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grapple with officers and to grab their arms and riot shields. See Images 1-4.




   Image 1: Still from Video Exhibit 1 showing Williams violently assaulting police officers at
                                    approximately 1:05 p.m.




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Image 2: Still from Video Exhibit 1 showing Williams violently assaulting police officers at
                                 approximately 1:05 p.m.

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Image 3: Still from Video Exhibit 1 showing Williams violently assaulting police officers at
                                 approximately 1:06 p.m.




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   Image 4: Still from Video Exhibit 1 showing Williams violently assaulting police officers at
                                    approximately 1:06 p.m.

       Video footage from the U.S. Capitol surveillance system also captured Williams’s

approach from the middle of the riotous mob to the front where he confronted and assaulted

police officers on the West Plaza. See Images 5-6.




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Image 5: Still from Video Exhibit 2 showing Williams walking towards police line at
                             approximately 1:05 p.m.




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      Image 6: Still from Video Exhibit 2 showing Williams walking towards police line at
                                   approximately 1:05 p.m.

                             Additional Conduct at the U.S. Capitol

       Shortly thereafter, having physical clashed with the police officers, Williams stood near

the police line surrounded by thousands of other rioters and threateningly shouted, “There’s a lot
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more coming, motherfuckers!” His shout was captured on a video. See Exhibit 3; PSR ¶20.




    Image 7: Still from Video Exhibit 3 showing Williams shouting threats at the police line.

       While still on the West Plaza, Williams recorded himself in a selfie video that he posted

to Facebook, describing that he had been “pepper sprayed” and “tear gassed.” Exhibit 4. In the

same video, Williams asked a friend to show off a police baton the friend had taken from a

police officer. Id. Video evidence confirms that Williams was hit with pepper spray. Exhibit 1;

PSR ¶19. Nonetheless, Williams did not leave the U.S. Capitol grounds. Instead, he remained

within the restricted area for approximately two additional hours and made multiple selfie videos


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that he posted to Facebook describing where he was and what he was doing.




  Image 8: Still from Video Exhibit 4 in which Williams describes being “pepper sprayed” and
              “gassed” and recorded while Williams remained on the West Plaza.

       During that period, the vastly outnumbered line of police officers had retreated up to the

Lower West Terrace and through the tunnel that led into the U.S. Capitol building. Williams and

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the rest of the riotous mob followed, ascending from the West Plaza to the Lower West Terrace,

where he remained just outside of the tunnel entrance of the U.S. Capitol. Williams recorded yet

another selfie video from near the tunnel, explaining that there was “gas in the air” and

expressing his reluctance to leave. Then, when cheers from the mob caught his attention, he

looked towards the tunnel and shouted in celebration, “I think we got in!” and turned his camera

to capture the moment. Exhibit 5.




Image 9: Still from Video Exhibit 5 in which Williams celebrates his belief that rioters breached

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                     the Capitol building through the Lower West Terrace Tunnel.

           Towards the end of the video, Williams explained that he supported the mob’s efforts to

enter the Capitol building, explaining, “We’re here to get in.” Id.

                        Williams’ Statements After Leaving the U.S. Capitol

           After leaving the Capitol grounds that day, Williams made another selfie video in which

he acknowledged his role in assaulting police officers defending the U.S. Capitol, stating “[w]e

were part of the initial . . . we were the very first assault through the riot police.” He further

stated, “I was part of an initial assault there, I got tear gassed, well I got pepper sprayed first, uh,

right in the face actually, that was terrible by the way, super terrible, but then uh we got hit with

CS gas, tear gas.” Exhibit 6.

           The following day, January 7, 2021, Williams drove back to Texas from Washington,

D.C. Along the way, he made and posted yet an approximately 30-minute long video to

Facebook. Over the course of the video, Williams blamed Antifa—whom he claimed dressed up

as pro-Trump protestors—for the instigating the violence and destruction he observed at the

Capitol while acknowledging that it was not his first time having a “run-in” with Washington,

D.C., riot police.

    III.      THE CHARGES AND OPEN PLEA

           On May 1, 2024, a federal grand jury returned an indictment charging Williams with the

seven counts identified above on pages 2 to 3 of this memorandum. Williams was convicted of

those offenses based on a guilty plea, without a plea agreement, to each of the seven charges.




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   IV.       STATUTORY PENALTIES

          Williams now faces sentencing on each of the seven charges of conviction. The

Presentence Report identifies the maximum penalties for each of those offenses. See PSR ¶¶ 114-

120 (custodial terms), 122-25 (supervised release), and 141-146 (fines and special assessments).

   V.        THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

          As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007).

          A. Sentencing Guidelines Calculation

          The government submits that the Guidelines analysis of all of the Counts to which

Williams pleaded guilty are as follows, as set forth in the Joint Status Report filed on July 2,

2024 (ECF 34 at 10-11):

   (1) Count One: Civil Disorder, 18 U.S.C. § 231(a)(3)
       Base offense level: U.S.S.G. § 2A2.4(a):                 10
       Physical contact: U.S.S.G. § 2A2.4(b)(1)(A):             +3
       U.S.S.G. § 2A2.4(c) Cross Reference Applies
       Base offense level: U.S.S.G. § 2A2.2(a):                 14
       Official victim, U.S.S.G. § 3A1.2(b)                     +6
                                            Total Offense Level: 20

   (2) Count Two: Assaulting, Resisting, or Impeding Certain Officers, 18 U.S.C. § 111(a)(1)

          Base Offense Level: U.S.S.G. § 2A2.4                         10
          Physical contact: U.S.S.G. § 2A2.4(b)(1)(A):                 +3
          U.S.S.G. § 2A2.4(c) Cross Reference Applies
          Base offense level: U.S.S.G. § 2A2.2(a)                      14
          Official victim, U.S.S.G. § 3A1.2(a), (b)                    +6
                                                  Total offense level: 20



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(3) Count Three: Entering and Remaining in a Restricted Building or Grounds, 18
    U.S.C. § 1752(a)(1)

   Base Offense Level: U.S.S.G. § 2B2.3(a)                       4
   Restricted Grounds: U.S.S.G. § 2B2.3(b)(1)(vii):             +2
   U.S.S.G. § 2B2.3(c) Cross Reference Applies
   Base offense level: U.S.S.G. § 2A2.2(a)                      14
                                           Total offense level: 14

(4) Count Four: Disorderly and Disruptive Conduct in a Restricted Building or Grounds, 18
    U.S.C. § 1752(a)(2)

   Base Offense Level: U.S.S.G. § 2A2.4                       10
   Physical contact: U.S.S.G. § 2A2.4(b)(1)(A):               +3
   U.S.S.G. § 2A2.4(c) Cross Reference Applies
   Base offense level: U.S.S.G. § 2A2.2(a)                    14
                                         Total offense level: 14

(5) Count Five: Engaging in Physical Violence in a Restricted Building or Grounds, 18
    U.S.C. § 1752(a)(4)

   Base Offense Level: U.S.S.G. § 2A2.4                         10
   Physical contact: U.S.S.G. § 2A2.4(b)(1)(A):                 +3
   U.S.S.G. § 2A2.4(c) Cross Reference Applies
   Base offense level: U.S.S.G. § 2A2.2(a)                      14
   Official victim, U.S.S.G. § 3A1.2(a), (b)                    +6
                                           Total offense level: 20

(6) Count Six: Disorderly Conduct in a Capitol Building, 40 U.S.C. § 5104(e)(2)(D)
    Because this is a Class B misdemeanor, the Guidelines do not apply. See 18 U.S.C.
    § 3559; U.S.S.G. § 1B1.9.

(7) Count Seven: Act of Physical Violence in the Capitol Grounds or Building, 40
    U.S.C. § 5104(e)(2)(F)
    Because this is a Class B misdemeanor, the Guidelines do not apply. See 18 U.S.C.
    § 3559; U.S.S.G. § 1B1.9.




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       B. Grouping

       Based on this Court’s analysis in United States v. Todd, 1:22-CR-00166-BAH,2 Counts

One, Two, and Five (charging violations of 18 U.S.C. §§ 231, 111, and 1752(a)(4), “Group 1”)

group pursuant to Section 3D1.2(b) because they involve the same victim (law enforcement).

The highest offense level for Group 1 is 20. Counts Three and Four (charging violations of 18

U.S.C. § 1752(a)(1) and (a)(2)) are in a separate group (“Group 2”) because the victim of both of

those offenses is Congress. Group 2 does not group with Group 1 because they involve separate

and distinct harms to separate and distinct victims. The highest offense level for Group 2 is 14.

One unit is assigned to the group with the highest offense level (here, Group 1). Group 2 is six

levels less serious than the highest offense level for Group 1; accordingly, it is assigned one-half



2
  Todd was convicted by a jury of obstruction of an official proceeding, in violation of 18 U.S.C.
§ 1512(c)(2), aggravated assault of police officers in violation of 18 U.S.C. § 111(a) and (b),
entering and remaining in a restricted area in violation of 18 U.S.C. § 1752(a)(1), disorderly and
disruptive conduct in a restricted area in violation of 18 U.S.C. § 1752(a)(2), and two petty
offenses. 22-cr-166 (BAH), May 31, 2024 Sent’g Transcript at 3-4. Although this Court did not
disagree with the government’s argument that the § 1752(a)(1) and § 1752(a)(2) convictions
involved the same victim (Congress), it held that those counts did not group in and rejected the
government’s argument to the contrary. Rather, the Court held that the § 1752(a)(2) count
grouped with the assault conviction pursuant to U.S.S.G. § 3D1.2(c) because the government had
argued that the assault “embodied conduct that is treated as a specific offense characteristic” of
the offense level for the § 1752(a)(2) count. Id. at 41-42.

Here, by contrast, the government does not take the position here that the offense level for the
§ 1752(a)(2) is increased by any specific offense characteristics. Rather, it argues that the offense
level for that count is the base offense level of 14 only. Accordingly, the § 1752(a)(1) and
§ 1752(a)(2) counts group together in Group 2 pursuant to U.S.S.G. § 3D1.2(b) (same victim),
and § 1752(a)(2) does not group with the other counts in Group 1 pursuant to U.S.S.G.
§ 3D1.2(c). In any event, whether the § 1752(a)(1) and § 1752(a)(2) counts group together here
does not impact the offense level of Group 2: the offense level for both counts is 14, and whether
Group 2 consists of the 1752(a)(1) count alone or both the 1752(a)(1) and 1752(a)(2) counts, the
offense level for Group 2 remains 14.
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unit. The two groups combine for a total of 1½ units, resulting in an increase of one offense level

for a combined adjusted Offense Level of 21.

       The government submits that the revised PSR includes two (related) errors.

       First, the PSR erroneously calculated the adjusted offense level for Count Three

[Entering and Remaining in a Restricted Building or Grounds in violation of 18

U.S.C. § 1752(a)(1)] as 6, instead of 14. While the government agrees with the PSR that the

initial base offense level for Count Three is 4 based on U.S.S.G. § 2B2.3 (trespass), and then

increased by two levels to 6 pursuant to U.S.S.G. § 2B2.3 (trespass occurring in a restricted

building/grounds), the calculation does not end there. Rather, the cross reference pursuant to

U.S.S.G. § 2B2.3(c)(1) (offense committed with intent to commit a felony) also applies to

Williams’s conduct, resulting in an adjusted offense level of 14 pursuant to U.S.S.G. § 2X1.1(a)

(base offense level from guideline for substantive offense) and U.S.S.G. § 2A2.2(a) (base offense

level). The government submits that the cross reference at § 2B2.3(c)(1) is applicable here

because Williams entered and remained within the restricted area of the Capitol grounds with the

intent to commit one or more felony offenses, including Civil Disorder (Count One) and Assault

on a Federal Officer (Count Two).

       In response to this objection, the revised PSR states as follows:

               Probation maintains the cross reference at § 2B2.3(c)(1) is not
               applicable. There does not appear to be any evidence that
               defendant Williams entered and remained in a restricted area of the
               U.S. Capitol for the purpose of assaulting law enforcement officers
               who were engaged in in the lawful performance of official duties
               during a civil disorder.

PSR p.26-27 (emphasis in original).

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       The government respectfully disagrees. Williams entered onto the restricted grounds by

no later than 1:03 p.m., knowing that he lacked authority to be there. PSR ¶18. Having done so,

Williams then walked behind a crowd of rioters along the West Plaza and past the media tower

towards the south side of the plaza. Id. From there, police officers wearing uniforms and carrying

riot helmets and shields visibly stood in a line to defend the Capitol building and protect its

lawful occupants. Id. Immediately thereafter, at approximately 1:05 p.m., Williams pushed his

way through the riotous crowd directly towards those police offices, remaining on restricted

grounds in order to do so. See Exhibit 2.

       Reaching the front of the mob, he immediately confronted the officers there and seconds

later, assaulted them. See Exhibits 1 and 2; PSR ¶18. For the next 25-30 seconds, William’s

assault on the officers obstructed, impeded, and interfered with them while they were attempting

to protect the Capitol. Id. By at least that time, Williams had entered into and remained within

restricted grounds intending to assault the officers keeping him from moving closer to and

entering within Capitol. Likewise, by at least that time, Williams had remained on restricted

grounds in order to impede, obstruct, and interfere with the efforts of officers working to keep

unauthorized rioters like Williams out of the Capitol building.

       That Williams may not have intended to commit those felonies when he first entered the

restricted area does not preclude operation of the cross-reference. If other conditions exist, a

person violates § 1752(a)(1) if they “knowingly enter[] or remain[] in any restricted building or

grounds” 18 U.S.C. § 1752(a)(1) (emphasis added). By remaining in the restricted area while




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assaulting police and impeding their efforts to respond to a civil disorder, Williams intended to

commit another felony while he was violating § 1752(a)(1).

       As Exhibit 5 makes clear, Williams supported the riotous mob’s efforts to enter the

Capitol building (explaining, “We’re here to get in”) and excitedly celebrated what he

understood to be the crowd’s success in entering. This evidence demonstrates that, at the very

least, Williams entered into or remained on restricted grounds in order to assault and impede the

efforts of those officers trying to stop the mob from doing so. Accordingly, the government

submits that the cross-reference at § 2B2.3(c)(1) applies here and the total offense level for

Count Three is 14.

       Second, and relatedly, because (1) the offense level for Count Three is 14, the highest

offense level for Group 2 is 14 (not 6); (2) the highest offense level for Group 1 is 20; and (3)

Count Three does not group with Group 2 because it involves a separate victim, the groups

combine for a total of 1½ units resulting in a combined adjusted Offense Level of 21 (and not

20). ECF 34 at 11; PSR p.26-27. Furthermore, in the Joint Status Report, Williams took the

position that even if the offense level for Count Three is 14 rather than 6, the combined adjusted

Offense Level remains 20 (and not 21) because Group 2 groups with the Group 1. ECF 34 at 11-

12. The government respectfully disagrees for the reasons set forth above and described in

United States v. Todd, 1:22-CR-00166-BAH.

       C. Undisputed Inapplicability of 4C1.1

       The U.S. Probation Office determined that Williams is not eligible for the Zero-Point

Offender Adjustment pursuant to U.S.S.G. § 4C1.1(a)(3), because Williams used violence or


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credible threats of violence in connection with the offense. PSR ¶58. For the reasons set forth

below, the government agrees. Williams did not object to this determination.

       Recent amendments to the Sentencing Guidelines for 2023 include a new guideline,

U.S.S.G. § 4C1.1, which provides for a two-level decrease in the offense level for offenders who

have no criminal history points and who meet certain additional criteria. Section 4C1.1 does not

apply in this case because Williams used violence and credible threats of violence against police

officers under a totality of the circumstances. Williams has pleaded guilty to assaulting federal

officers pursuant to 18 U.S.C. § 111(a). His assault on federal officers is documented in Exhibits

1 and 2. Moreover, Williams threatened those officers after his assault, as documented in Exhibit

3 (“There’s a lot more coming, motherfuckers!”), at time when Williams reasonably understood

the volatility of the situation on the West Plaza when police officers were already heavily

outnumbered by members of the riotous mob. See United States v. Andrulonis, No. 23-cr-085

(BAH), Sentc’g Hrg. Tr. at 11-12.

       Due to the unique nature of the January 6 mob, the harms caused by the January 6 riot,

and the significant need to deter future mob violence, the government submits that even if the

Court were to find that § 4C1.1 applies, the Court should nevertheless vary upwards by two

levels to counter any reduction in offense level. Such treatment would recognize the unique

nature of the criminal events of January 6, 2021, coupled with the overwhelming need to ensure

future deterrence, despite a person’s limited criminal history.

       Finally, to avoid unnecessary litigation, if the court declines to apply § 4C1.1, the

government requests that the Court make clear at sentencing that it would have imposed the


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same sentence regardless of whether § 4C1.1 applies.3

          D. The Government’s Calculated Sentencing Range for Williams

          The U.S. Probation Office calculated Williams’ criminal history as category I, which is

not disputed. PSR ¶ 62. Accordingly, the government’s calculation of Williams’ total adjusted

offense level, after acceptance of responsibility, is 18. The resulting sentencing guidelines range

is therefore 27 to 33 months’ imprisonment.

    VI.        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

          In this case, sentencing is guided by 18 U.S.C. § 3553(a). As described below, on

balance, the Section 3553(a) factors weigh in favor of a lengthy term of incarceration.

          A.     Nature and Circumstances of the Offense

          As shown in Section II(B) of this memorandum, William’s felonious conduct on January

6, 2021 was part of a massive riot that almost succeeded in preventing the certification vote from

being carried out, frustrating the peaceful transition of Presidential power, and throwing the

United States into a Constitutional crisis.

          Williams arrived at the U.S. Capitol grounds within minutes of the initial breach of the

restricted perimeter and wasted little time in moving to the front of the mob in order to violently

assault police officers defending the building on the West Plaza. Video evidence shows Williams

pushing, shoving, and grappling with a number of officers over a period of 25-30 seconds, only


3
  U.S.S.G. § 5C1.1 has also been amended with a new application note providing that if a
defendant receives an offense level reduction under §4C1.1 and either their applicable guideline
range is in Zone A or B of the Sentencing Table, or the guideline range overstates the seriousness
of the offense, imprisonment may not be appropriate. See U.S.S.G. § 5C1.1, comment. n. 10. The
government submits that for the same reasons that § 4C1.1 should not be applied in this case, a
sentence of imprisonment is appropriate notwithstanding Application Note 10 to § 5C1.1.
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stopping after he was sprayed in the face with pepper spray. Williams nonetheless stayed in the

West Plaza, shouting threats at the officers, before pushing forward with the mob that sought to

enter the building through the “Tunnel.” The nature and circumstances of Williams’s offenses

were of the utmost seriousness, and fully support the government’s recommended sentence of 30

months.

       B. Williams’ History and Characteristics

       Williams reported having had a “great” childhood and a supportive family. PSR ¶¶70-

71. He has been married and divorced twice and has two children, neither of whom currently

resides with him. PSR ¶¶72-73; 77. Williams owns a custom concrete business (“Crete Builders,

LLC”) that performs decorative concrete work. ECF 34 at 8; PSR ¶¶98-99; 104. He also works

as an independent contractor and has averaged $60,000 in annual income over the past two years.

PSR ¶98. Previously, Williams worked for his stepfather’s concrete company. PSR ¶101. In May

2010, Williams enlisted in the U.S. Army and completed two years in infantry. PSR ¶103.

During that period, he was deployed to Iraq in 2011 for eleven months. PSR ¶103. Williams has

no prior arrests or convictions. PSR ¶¶ 61-65.

       Despite the advantages of steady employment and a supportive family, Williams

nonetheless left Texas and drove 1,500 miles to Washington, D.C., not even waiting for the end

of former-President Trump’s speech at the Ellipse to breach the Capitol grounds and assault

police officers there. If anything, such factors highlight that Williams had choices other than

engaging in violent criminal conduct on January 6. And while Williams’s past military service is

commendable, and the government’s sentence recommendation takes that service into account,


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his willingness to violently assault police officers merely doing their job to defend the Capitol

was a betrayal of his enlistment oath.

       According to the U.S. Probation Office, Williams did not provide documentation of his

finances. ¶106. He also failed to complete a Net Worth Statement, and through counsel

ownership of any assets of liabilities, PSR ¶ 107, and did not provide income tax documents.

¶112. These failures are particularly concerning in light of the U.S. Probation Department’s

determination that despite a positive monthly cash flow, Williams currently owes over $27,000

to the Texas Attorney General for overdue child support. ¶¶73; 110-11. Williams’ history and

characteristics weigh in favor of a significant term of incarceration.

       C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       As with the nature and circumstances of the offense, this factor supports a sentence of

incarceration. Williams’s criminal conduct on January 6 was the epitome of disrespect for the

law. “We cannot ever act as if this was simply a political protest, simply an episode of

trespassing in a federal building. What this was was an attack on our democracy itself and an

attack on the singular aspect of democracy that makes America America, and that’s the peaceful

transfer of power.” United States v. Cronin, 22-cr-233-ABJ, Tr. 06/09/23 at 20.

       D.      The Need for the Sentence to Afford Adequate Deterrence

                                         General Deterrence

       A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C.§ 3553(a)(2)(B). The need to deter others is especially strong in cases involving



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domestic terrorism, which the breach of the Capitol certainly was.4 The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol.

                                         Specific Deterrence

         The need for the sentence to provide specific deterrence to this particular defendant also

weighs heavily in favor of a lengthy term of incarceration. At the time Williams assaulted police

officers defending the U.S. Capitol, he was himself a former U.S. soldier. Despite his oath to the

Constitution, and his years of training and experience in the military, Williams did not hesitate to

rush towards police officers attempting to do their job and fulfill their sworn obligation to defend

the U.S. Capitol, members of Congress and their staff, and then Vice President Pence and the

U.S. Secret Service officers assigned to protect him. Even after assaulting multiple police

officers, Williams remained on the West Plaza and shouted threats at the officers—threats

backed by the large and growing crowd of rioters who had demonstrated their willingness to

attack the police line. See Exhibit 3.

         E.      The Importance of the Guidelines

         “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v.

United States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has

“‘modif[ied] and adjust[ed] past practice in the interests of greater rationality, avoiding


4
    See 18 U.S.C. § 2331(5) (defining “domestic terrorism”).
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inconsistency, complying with congressional instructions, and the like.’” Kimbrough v. United

States, 552 U.S. 85, 96 (2007) (quoting Rita, 551 U.S. at 349); 28 U.S.C. § 994(m). In so doing,

the Commission “has the capacity courts lack to base its determinations on empirical data and

national experience, guided by professional staff with appropriate expertise,” and “to formulate

and constantly refine national sentencing standards.” Kimbrough, 552 U.S. at 108 (cleaned up).

Accordingly, courts must give “respectful consideration to the Guidelines.” Id. at 101.

       F.      Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct” (emphasis added). So long as the sentencing court “correctly

calculate[s] and carefully review[s] the Guidelines range, [it] necessarily [gives] significant

weight and consideration to the need to avoid unwarranted disparities” because “avoidance of

unwarranted disparities was clearly considered by the Sentencing Commission when setting the

Guidelines ranges.” Gall v. United States, 552 U.S. 38, 54 (2007).

       Section 3553(a)(6) does not limit the sentencing court’s broad discretion “to impose a

sentence sufficient, but not greater than necessary, to comply with the purposes” of sentencing.

18 U.S.C. § 3553(a). After all, the goal of minimizing unwarranted sentencing disparities in

Section 3553(a)(6) is “only one of several factors that must be weighted and balanced,” and the

degree of weight is “firmly committed to the discretion of the sentencing judge.” United States v.

Coppola, 671 F.3d 220, 254 (2d Cir. 2012). The “open-ended” nature of the Section 3553(a)

factors means that “different district courts may have distinct sentencing philosophies and may


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emphasize and weigh the individual § 3553(a) factors differently; and every sentencing decision

involves its own set of facts and circumstances regarding the offense and the offender.” United

States v. Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and

will sentence differently—differently from the Sentencing Guidelines range, differently from the

sentence an appellate court might have imposed, and differently from how other district courts

might have sentenced that defendant.” Id. at 1095. “As the qualifier ‘unwarranted’ reflects, this

provision leaves plenty of room for differences in sentences when warranted under the

circumstances.” United States v. Brown, 732 F.3d 781, 788 (7th Cir. 2013).5 “When an offense is

uniquely serious, courts will consider the need to impose stiffer sentences that justify the risk of

potential disparities.” United States v. Mattea, 895 F.3d 762, 768–69 (D.C. Cir. 2018) (cleaned

up).

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.6

While no previously sentenced case contains the same balance of aggravating and mitigating




5
  If anything, the Guidelines ranges in Capitol siege cases are more likely to understate than
overstate the severity of the offense conduct. See United States v. Knutson, D.D.C. 22-cr-31
(FYP), Aug. 26, 2022 Sent. Hrg. Tr. at 24-25 (“If anything, the guideline range underrepresents
the seriousness of [the defendant’s] conduct because it does not consider the context of the mob
violence that took place on January 6th of 2021.”) (statement of Judge Pan).
6
  A routinely updated table providing additional information about the sentences imposed on
other Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-
breach-cases. To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN
CAPITOL BREACH CASES.” The table shows that imposition of the government’s
recommended sentence in this case would not result in an unwarranted sentencing disparity.
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factors present here, the conduct in the following cases provide suitable comparisons to the

relevant sentencing considerations in this case.

       Williams’s conduct on January 6 is comparable to that of United States v. Cale Clayton,

22-cr-00139 (RCL). Like Williams, Clayton attended then-President Trump’s rally at the Ellipse

and entered onto the restricted grounds on the west side of the Capitol building. Like Williams,

Clayton threatened and harassed the officers defending the Capitol (“We are going to win. You

don’t have enough for all of us. You might hit me once or twice. You might spray me with

pepper spray. I don’t give a fuck. There ain’t enough for millions of people here and you know

it.”). 22-cr-00139 ECF 32 at 4. As officers attempted clear rioters from the west side, Clayton

assaulted multiple officers by shoving them and grabbing their shields. And while Williams did

not take an officer’s baton, as Clayton did, one of William’s fellow travelers from Texas did—a

fact that Williams proudly announced and broadcast on Facebook. See Exhibit 4. When officers

demanded Clayton return the baton, he shoved another officer in the face and grabbed his face

mask. Neither Williams nor Clayton entered the U.S. Capitol building. Clayton, unlike Williams,

pleaded guilty to two separate violations of 18 U.S.C. § 111(a), and as a result, had a higher

offense level (19) and thus a slightly higher calculated sentencing guidelines range (30-37

months). Judge Lamberth sentenced Clayton to 30 months of incarceration, a sentence consistent

with the government’s recommendation in this case.

       Williams’s conduct is likewise comparable to that of United States v. James Weeks, 24-

cr-131 (BAH), whom this Court recently sentenced to a period of 27 months of incarceration.

Unlike Williams, who pleaded guilty to violations of 18 U.S.C. § 231 (another felony) in


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addition to 18 U.S.C. § 111(a), Weeks pleaded guilty to a single count of violating 18 U.S.C.

§ 111(a). As a result, his calculated offense level (17) was lower than that of Williams and thus

had a lower sentencing guidelines range (24-30 months’ imprisonment). While Weeks assaulted

officers in the “tunnel” on the Lower West Terrace, the location of some of the most violent

conduct on January 6, that assault took place almost two hours after Williams’s assault of

officers on the West Terrace. While Weeks’s actions at the doorway in the tunnel constituted an

aggravating factor, so too does the fact that Williams participated in one of the very first assaults

against officers at the Capitol on January 6—an assault that paved the way for what followed and

helped to normalize the use of violence against such officers. A sentence of 30 months’

incarceration for Williams is consistent with the sentence this Court imposed on Weeks.

   VII.    RESTITUTION

       Under 18 U.S.C. § 3556, a sentencing court must determine whether and how to impose

restitution in a federal criminal case. Because a federal court possesses no “inherent authority to

order restitution,” United States v. Fair, 699 F.3d 508, 512 (D.C. Cir. 2012), it can impose

restitution only when authorized by statute, United States v. Papagno, 639 F.3d 1093, 1096 (D.C.

Cir. 2011). First, the Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291

§ 3579, 96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with

discretionary authority to order restitution to victims of most federal crimes.” Papagno, 639 F.3d

at 1096; see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to restitution under the

VWPA). Second, the Mandatory Victims Restitution Act (“MVRA”), Pub. L. No. 104-132 §

204, 110 Stat. 1214 (codified at 18 U.S.C. § 3663A), “requires restitution in certain federal


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cases involving a subset of the crimes covered” in the VWPA. Papagno, 639 F.3d at 1096.

The MVRA applies to certain offenses including those “in which an identifiable victim or victims

has suffered a physical injury or pecuniary loss,” 18 U.S.C. § 3663A(c)(1)(B), a “crime of

violence,” § 3663A(c)(1)(A)(i), or “an offense against property … including any offense committed by

fraud or deceit,” § 3663A(c)(1)(A)(ii). See Fair, 699 F.3d at 512 (citation omitted). As Williams was

convicted of a violation of an offense under Title 18, the VWPA does apply.

       The applicable procedures for restitution orders issued and enforced under these two

statutes is found in 18 U.S.C. § 3664. See 18 U.S.C. § 3556 (directing that sentencing court

“shall” impose restitution under the MVRA, “may” impose restitution under the VWPA, and

“shall” use the procedures set out in Section 3664).

       Both [t]he VWPA and MVRA require identification of a victim, defined in both statutes as

“a person directly and proximately harmed as a result of” the offense of conviction. Hughey

v. United States, 495 U.S. 411, 418 (1990) (interpreting the VWPA). Both statutes identify

similar covered costs, including lost property and certain expenses of recovering from bodily

injury. See Papagno, 639 F.3d at 1097-97; 18 U.S.C. §§ 3663(b), 3663A(b). Finally, under

both the statutes, the government bears the burden by a preponderance of the evidence to

establish the amount of loss suffered by the victim. United States v. Bikundi, 926 F.3d 761, 791

(D.C. Cir. 2019).

       In deciding whether to impose restitution under the VWPA, the sentencing court must

take account of the victim’s losses, the defendant’s financial resources, and “such other factors as

the court deems appropriate.” United States v. Williams, 353 F. Supp. 3d 14, 23-24 (D.D.C. 2019)


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(quoting 18 U.S.C. § 3663(a)(1)(B)(i)). The MVRA, by contrast, requires imposition of full

restitution without respect to a defendant’s ability to pay.7

       Because Williams in this case engaged in criminal conduct in tandem with hundreds of

other defendants charged in other January 6 cases, and his criminal conduct was a “proximate

cause” of the victims’ losses if not a “cause in fact,” the Court has discretion to apportion

restitution and hold Williams responsible for his individual contribution to the victims’ total

losses. See Paroline v. United States, 572 U.S. 434, 458 (2014) (holding that in aggregate

causation cases, the sentencing court “should order restitution in an amount that comports with

the defendant’s relative role in the causal process that underlies the victim’s general losses”). See

also United States v. Monzel, 930 F.3d 470, 476-77, 485 (D.C. Cir. 2019) (affirming $7,500 in

restitution toward more than a $3 million total loss, against a defendant who possessed a single

pornographic image of the child victim; the restitution amount was reasonable even though the

“government was unable to offer anything more than ‘speculation’ as to [the defendant’s]

individual causal contribution to [the victim’s] harm”; the sentencing court was not required to

“show[] every step of its homework,” or generate a “formulaic computation,” but simply make a

“reasoned judgment.”).

       More specifically, the Court should require Williams to pay $2,000 in restitution for his

convictions on Counts One through Five. This amount fairly reflects Williams’s role in the

offense and the damages resulting from his conduct. Moreover, in cases where the parties have


 7
  Both statutes permit the sentencing court to decline to impose restitution where doing so will
 “complicat[e]” or “prolong[]” the sentencing process. See 18 U.S.C. §§ 3663(a)(1)(B)(ii),
 3663A(c)(3)(B).
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entered into a guilty plea agreement, two thousand dollars has consistently been the agreed upon

amount of restitution and the amount of restitution imposed by judges of this Court where the

defendant was not directly and personally involved in damaging property. Accordingly, such a

restitution order avoids sentencing disparity. See United States v. Todd, 22-cr-166 (BAH) ECF

247 (Memorandum and Order).

   VIII. FINE

         Williams’ convictions for violations of 18 U.S.C. §§ 111(a) and 231 subject him to a

statutory maximum fine of $250,000. See 18 U.S.C. § 3571(b). In determining whether to impose

a fine, the sentencing court should consider William’s income, earning capacity, and financial

resources. See 18 U.S.C. § 3572(a)(1); See U.S.S.G. § 5E1.2(d). The sentencing guidelines

provide for a fine in all cases, except where the defendant establishes that he is unable to pay and

is not likely to become able to pay any fine. U.S.S.G. § 5E1.2(a), (e) (2023).

         The burden is on Williams to show present and prospective inability to pay a fine. See

United States v. Gewin, 471 F.3d 197, 203 (D.C. Cir. 2006) (explaining that “it makes good

sense to burden a defendant who has apparently concealed assets” to prove that “he has no such

assets and thus cannot pay the fine”); United States v. Lombardo, 35 F.3d 526, 528 (11th Cir.

1994).

         Here, Williams has not shown an inability to pay, thus pursuant to the considerations

outlined in U.S.S.G. § 5E1.2(d), the Court has authority to impose a fine. § 5E1.2(a), (e).

   IX.      CONCLUSION

         For the reasons set forth above, the government recommends that the Court impose a

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sentence of 30 months of incarceration, 3 years of supervised release, restitution in the amount of

$2,000, and a $295 mandatory assessment fee.

                                             Respectfully submitted,

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